                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 1 of 59

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Century Air Solutions, LLC



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   4      5 – 2    1   7    3   8    9   8
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   11709 Boudreaux Road Ste. 630
                                                   Number          Street                                      Number        Street



                                                                                                               P.O. Box
                                                   Tomball, TX 77375
                                                   City                                  State   ZIP Code
                                                                                                               City                              State      ZIP Code

                                                   Harris                                                      Location of principal assets, if different from principal
                                                   County                                                      place of business


                                                                                                               Number        Street




                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     https://centuryairsolutions.com



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Century Air Solutions, LLC                                                                       Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    8     1   1   3

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Century Air Solutions, LLC                                                                      Case number (if known)
             Name


  11. Why is the case filed in this        Check all that apply:
      district?
                                           ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ❑
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have          ✔ No
                                           ❑
      possession of any real
      property or personal property
                                           ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?                                     ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard?


                                                     ❑ It needs to be physically secured or protected from the weather.
                                                     ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                           (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                           options).
                                                     ❑ Other
                                                     Where is the property?
                                                                               Number        Street




                                                                               City                                         State    ZIP Code
                                                     Is the property insured?
                                                     ❑ No
                                                     ❑ Yes.        Insurance agency
                                                                   Contact name
                                                                   Phone

          Statistical and administrative information

         13. Debtor’s estimation of        Check one:
             available funds?              ❑ Funds will be available for distribution to unsecured creditors.
                                           ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           ❑
                                              creditors.

         14. Estimated number of
                                            ✔ 1-49 ❑ 50-99
                                            ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                      ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets               ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                            ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ✔ $500,001-$1 million
                                            ❑                                     ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 4 of 59

Debtor        Century Air Solutions, LLC                                                                       Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     08/17/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Phat Bui                                                       Printed name
                                                                                                                                           Phat Bui
                                                   Signature of authorized representative of debtor


                                                   Title                        Manager



         18. Signature of attorney
                                               ✘                        /s/ Robert C Lane                           Date      08/17/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    Robert C Lane
                                                   Printed name

                                                    The Lane Law Firm
                                                   Firm name

                                                    6200 Savoy Dr Ste 1150
                                                   Number          Street


                                                    Houston                                                            TX              77036-3369
                                                   City                                                               State            ZIP Code



                                                    (713) 595-8200                                                      notifications@lanelaw.com
                                                   Contact phone                                                       Email address



                                                    24046263                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name                           Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)              Type of account                 Last 4 digits of account number
       3.1 Capital One Bank                                          Checking account                       1585                                    $15,601.18

       Additional Page Total - See continuation page for additional entries                                                                              $175.49

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                       $15,776.67
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑ No. Go to Part 3.
       ✔ Yes. Fill in the information below.
       ❑
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       7.1 Warehouse Deposit                                                                                                                            $6,000.00




Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                         page 1
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 6 of 59

Debtor        Century Air Solutions, LLC                                                                         Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                        $6,000.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:            $15,242.60                -                  $0.00                    = ...... ➔                         $15,242.60
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:               $261,724.07               -                  $0.00                    = ...... ➔                        $261,724.07
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                      $276,966.67
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 7 of 59

Debtor       Century Air Solutions, LLC                                                                   Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                Date of the last        Net book value of    Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest    for current value         interest
                                                                                    (Where available)


  19. Raw materials

         19.1 Parts/materials                                    02/22/2023                  (Unknown)   Fair Market Value                      $36,825.00
                                                                MM / DD / YYYY


  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

         None

  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                  $36,825.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.


Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                    page 3
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 8 of 59

Debtor       Century Air Solutions, LLC                                                                  Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 9 of 59

Debtor       Century Air Solutions, LLC                                                                  Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         39.1 Desks (2)                                                                    (Unknown)                                              $100.00


         Additional Page Total - See continuation page for additional entries                                                                     $375.00

  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Refrigerator                                                                 (Unknown)                                              $200.00


         Additional Page Total - See continuation page for additional entries                                                                   $1,050.00

  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                                $1,725.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

         47.1 2021 Chevrolet Express G3500 / VIN: 6951 Box Truck                           (Unknown)    Fair Market Value                      $23,450.00




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 10 of 59

Debtor        Century Air Solutions, LLC                                                                     Case number (if known)
             Name



         47.2 2017 Dodge Ram ProMaster 2500 / VIN: 5176                                      (Unknown)      Fair Market Value                      $20,400.00


         47.3 2006 Toyota Tundra / VIN: 5210                                                 (Unknown)      Fair Market Value                       $6,700.00

         Additional Page Total - See continuation page for additional entries                                                                      $52,000.00

  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         None


  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         None


  51. Total of Part 8
                                                                                                                                                  $102,550.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
                            Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 11 of 59

Debtor       Century Air Solutions, LLC                                                                  Case number (if known)
             Name



  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         61.1 https://centuryairsolutions.com                                              (Unknown)    Fair Market Value                            $1.00


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $1.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
                            Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 12 of 59

Debtor        Century Air Solutions, LLC                                                                 Case number (if known)
             Name


  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ❑ No. Go to Part 12.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         74.1 Royal American Construction Company, Inc.                                                                                        $83,318.00
         Nature of Claim     Breach of contract: recovery/enforcement
         Amount Requested        (Unknown)


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                               $83,318.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes
Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
                                Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 13 of 59

Debtor        Century Air Solutions, LLC                                                                                             Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                               $15,776.67

  81. Deposits and prepayments. Copy line 9, Part 2.                                                          $6,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                          $276,966.67

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                      $36,825.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                        $1,725.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                           $102,550.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $1.00

  90. All other assets. Copy line 78, Part 11.                                          +                   $83,318.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                  $523,162.34         + 91b.                           $0.00



                                                                                                                                                                        $523,162.34
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 9
                           Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 14 of 59

Debtor       Century Air Solutions, LLC                                                                   Case number (if known)
             Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                              Current value of debtor's
                                                                                                                                   interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)            Type of account                  Last 4 digits of account number
       3.2 Community Stellar Bank                                   Checking account                       5568                                    $40.66

       3.3 Community Stellar Bank (Payroll)                         Checking account                       1157                                   $134.83

       3.4 Chase Bank                                               Checking account                       5251                                (Unknown)


         General description                                                      Net book value of     Valuation method used      Current value of debtor's
                                                                                  debtor's interest     for current value          interest
                                                                                  (Where available)

  39. Office furniture - Continued
         39.2 Office Chairs (4)                                                           (Unknown)                                                $125.00

         39.3 Filing Cabinets (6)                                                         (Unknown)                                                $250.00

  41. Office equipment - Continued
         41.2 Microwave                                                                   (Unknown)                                                 $20.00

         41.3 Keruig Coffee Machine                                                       (Unknown)                                                 $30.00

         41.4 Water Dispenser                                                             (Unknown)                                                $150.00

         41.5 HP Printer                                                                  (Unknown)                                                $100.00

         41.6 HP Computer                                                                 (Unknown)      Fair Market Value                         $750.00

         General description                                                      Net book value of     Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,   debtor's interest     for current value          interest
         or N-number)                                                             (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued
         47.4 2018 Nissan NV 2500 S / VIN: 4737                                           (Unknown)      Fair Market Value                      $21,000.00

         47.5 2021 Nissan NV 2500 / VIN: 6871                                             (Unknown)      Fair Market Value                      $31,000.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                   page 10
                          Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 15 of 59
 Fill in this information to identify the case:

     Debtor name     Century Air Solutions, LLC

     United States Bankruptcy Court for the:                 Southern                District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                          amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                        Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                 Value of collateral
                                                                                                                           Do not deduct the value         that supports this
                                                                                                                           of collateral.                  claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                            $40,911.94            $23,450.00
         Community Bank of Texas
                                                             2021 Chevrolet Express G3500
        Creditor’s mailing address
                                                             Describe the lien
         5999 Delaware St
                                                             2021 Chevy G350 Van
         Beaumont, TX 77706-7607
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was                  November 5,           Is anyone else liable on this claim?
        incurred                          2021
                                                             ✔ No
                                                             ❑
        Last 4 digits of               1    7   5       2    ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        account
                                                             As of the petition filing date, the claim is:
        number
                                                             Check all that apply.
        Do multiple creditors have an interest               ❑ Contingent
        in the same property?                                ❑ Unliquidated
        ✔ No
        ❑                                                    ❑ Disputed
        ❑ Yes. Specify each creditor, including this
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $535,530.16
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 5
                      Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 16 of 59
Debtor     Century Air Solutions, LLC                                                                Case number (if known)
          Name




  Part 1:        Additional Page                                                                                      Column A                      Column B
                                                                                                                      Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                      Do not deduct the value       that supports this
 from the
                                                                                                                      of collateral.                claim
 previous page.

2.2 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                           $25,923.38            unknown
      Community Bank of Texas

     Creditor’s mailing address
      5999 Delaware St
      Beaumont, TX 77706-7607
                                                        Describe the lien
     Creditor’s email address, if known                 SBA Loan

                                                        Is the creditor an insider or related party?
     Date debt was                 May 11, 2021         ✔ No
                                                        ❑
     incurred
                                                        ❑ Yes
     Last 4 digits of              1      2   9     5   Is anyone else liable on this claim?
     account
                                                        ✔ No
                                                        ❑
     number
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔ No
                                                        Check all that apply.
     ❑
     ❑ Yes. Have you already specified the              ❑ Contingent
              relative priority?                        ❑ Unliquidated
         ❑ No. Specify each creditor, including         ❑ Disputed
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 5
                      Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 17 of 59
Debtor     Century Air Solutions, LLC                                                                Case number (if known)
          Name




  Part 1:        Additional Page                                                                                      Column A                       Column B
                                                                                                                      Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                      Do not deduct the value        that supports this
 from the
                                                                                                                      of collateral.                 claim
 previous page.

2.3 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                           $431,926.82            unknown
      Community Bank of Texas

     Creditor’s mailing address
      5999 Delaware St
      Beaumont, TX 77706-7607
                                                        Describe the lien
     Creditor’s email address, if known                 Business Loan

                                                        Is the creditor an insider or related party?
     Date debt was                 May 11, 2021         ✔ No
                                                        ❑
     incurred
                                                        ❑ Yes
     Last 4 digits of              1      2   9     6   Is anyone else liable on this claim?
     account
                                                        ✔ No
                                                        ❑
     number
                                                        ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Do multiple creditors have an interest
     in the same property?                  As of the petition filing date, the claim is:

     ✔ No
                                                        Check all that apply.
     ❑
     ❑ Yes. Have you already specified the              ❑ Contingent
              relative priority?                        ❑ Unliquidated
         ❑ No. Specify each creditor, including         ❑ Disputed
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3 of 5
                      Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 18 of 59
Debtor     Century Air Solutions, LLC                                                              Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                     Column B
                                                                                                                    Amount of claim              Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value      that supports this
 from the
                                                                                                                    of collateral.               claim
 previous page.

2.4 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $6,060.87          $21,000.00
      Nissan Motor Acceptance Corp.
                                                      2018 Nissan NV 2500 S
     Creditor’s mailing address
                                                      Describe the lien
      Bankruptcy Dept.
                                                      2018 Nissan NV Cargo Van
      PO Box 660366
      Dallas, TX 75266-9620                           Is the creditor an insider or related party?
                                                      ✔ No
                                                      ❑
     Creditor’s email address, if known
                                                      ❑ Yes
                                                      Is anyone else liable on this claim?
     Date debt was                 March 2019         ❑ No
     incurred                                         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                      ❑
     Last 4 digits of              0      0   0   1   As of the petition filing date, the claim is:
     account                                          Check all that apply.
     number
                                                      ❑ Contingent
     Do multiple creditors have an interest           ❑ Unliquidated
     in the same property?                            ❑ Disputed
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 5
                      Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 19 of 59
Debtor     Century Air Solutions, LLC                                                                Case number (if known)
          Name




  Part 1:        Additional Page                                                                                      Column A                      Column B
                                                                                                                      Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                      Do not deduct the value       that supports this
 from the
                                                                                                                      of collateral.                claim
 previous page.

2.5 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                        lien                                                                           $30,707.15          $31,000.00
      Nissan Motor Acceptance Corp.
                                                        2021 Nissan NV 2500
     Creditor’s mailing address
                                                        Describe the lien
      Bankruptcy Dept.
                                                        2021 Nissan NV 2500
      PO Box 660366
      Dallas, TX 75266-9620                             Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known
                                                        ❑ Yes
                                                        Is anyone else liable on this claim?
     Date debt was                  October 20,         ❑ No
     incurred                          2021             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     Last 4 digits of              0      0   0     1   As of the petition filing date, the claim is:
     account                                            Check all that apply.
     number
                                            ❑ Contingent
     Do multiple creditors have an interest ❑ Unliquidated
     in the same property?                  ❑ Disputed
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
                  this creditor, and its relative
                  priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 5 of 5
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                            Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 21 of 59

 Fill in this information to identify the case:

 Debtor name                           Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:   $33,215.33                    $33,215.33
                                                              Check all that apply.
       Internal Revenue Service
                                                              ❑ Contingent
       P.O. Box 7346                                          ❑ Unliquidated
       Philadelphia, PA 19101-7346
                                                              ❑ Disputed
                                                              Basis for the Claim:
       Date or dates debt was incurred
                                                               Payroll Taxes

                                                              Is the claim subject to offset?
       Last 4 digits of account                               ✔ No
                                                              ❑
       number                                                 ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Priority creditor’s name and mailing address           As of the petition filing date, the claim is:
2.2                                                           Check all that apply.
                                                              ❑ Contingent
                                                              ❑ Unliquidated
                                                              ❑ Disputed
                                                              Basis for the claim:
       Date or dates debt was incurred


                                                              Is the claim subject to offset?
       Last 4 digits of account
                                                              ❑ No
       number
                                                              ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 7
                            Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 22 of 59

Debtor        Century Air Solutions, LLC                                                                      Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $11,254.11
                                                                            Check all that apply.
       American Express
                                                                            ❑ Contingent
       Bankruptcy Unit                                                      ❑ Unliquidated
                                                                            ❑ Disputed
       PO Box 297817                                                        Basis for the claim: Credit Card
       Fort Lauderdale, FL 33329-7817                                       Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number         1   0   0    8
       Remarks: Blue Business Card

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $11,156.27
                                                                            Check all that apply.
       Capital One Spark Card
                                                                            ❑ Contingent
       P.O. Box 60519                                                       ❑ Unliquidated
                                                                            ❑ Disputed
       City of Industry, CA 91716
                                                                            Basis for the claim: Credit Card
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         1   4   2    4
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $29,729.44
                                                                            Check all that apply.
       Carrier Enterprises LLC
                                                                            ❑ Contingent
                                                                            ❑ Unliquidated
       PO Box 730307
                                                                            ✔ Disputed
                                                                            ❑
       Dallas, TX 75373
                                                                            Basis for the claim: Vendor or Supplier
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred         May 2023                     ✔ No
                                                                            ❑
                                                                            ❑ Yes
       Last 4 digits of account number         0   6   1    9

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $35,504.95
3.4                                                                         Check all that apply.
       Chase Ink Credit Card
                                                                            ❑ Contingent
       P.O. Box 6294                                                        ❑ Unliquidated
                                                                            ❑ Disputed
       Carol Stream, IL 60197
                                                                            Basis for the claim: Credit Card
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number         5   7   0    4
                                                                            ❑ Yes




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 7
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Debtor      Century Air Solutions, LLC                                                                   Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $34,046.76
                                                                       Check all that apply.
      Chase Ink Credit Card
                                                                       ❑ Contingent
      PO Box 6294                                                      ❑ Unliquidated
                                                                       ❑ Disputed
      Carol Stream, IL 60197
                                                                       Basis for the claim: Credit Card
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number      5   4   3     5
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $23,897.67
                                                                       Check all that apply.
      Daikin Comfort Technologies
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      PO Box 660503
                                                                       ✔ Disputed
                                                                       ❑
      Dallas, TX 75266
                                                                       Basis for the claim: Vendor or Supplier
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      January 2023                ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $14,646.26
                                                                       Check all that apply.
      Ferguson Enterprises LLC
                                                                       ❑ Contingent
      PO Box 847411                                                    ❑ Unliquidated
                                                                       ❑ Disputed
      Dallas, TX 75284
                                                                       Basis for the claim: Vendor or Supplier
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      January 2023                ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number      8   3   1     9

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $19,391.87
3.8                                                                    Check all that apply.
      iHeartMedia Inc.
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
      20880 Stone Oak Parkway
                                                                       ✔ Disputed
                                                                       ❑
      San Antonio, TX 78258
                                                                       Basis for the claim: Advertising
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred      February 2023               ✔ No
                                                                       ❑
                                                                       ❑ Yes
      Last 4 digits of account number      7   8   0     1




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 7
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Debtor        Century Air Solutions, LLC                                                                    Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $58,746.76
                                                                          Check all that apply.
         Jackson Supply Co.
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         6655 Roxburgh Dr. Suite #100
                                                                          ✔ Disputed
                                                                          ❑
         Houston, TX 77041
                                                                          Basis for the claim: Vendor or Supplier
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      March 2023                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number      2   8   6     6

3.10 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $728.17
                                                                          Check all that apply.
         Lennox International, Inc.
                                                                          ❑ Contingent
         2100 Lake Park Blvd.                                             ❑ Unliquidated
                                                                          ❑ Disputed
         Richardson, TX 75080
                                                                          Basis for the claim: Vendor or Supplier
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      April 2023                  ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number

3.11 Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $91,484.07
                                                                          Check all that apply.
         Robert Madden Industries, LTD
                                                                          ❑ Contingent
                                                                          ❑ Unliquidated
         6021 43rd Street
                                                                          ✔ Disputed
                                                                          ❑
         Lubbock, TX 79407
                                                                          Basis for the claim: Vendor or Supplier
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      May 2022                    ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number      2   2   9     0

         Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $25,952.38
3.12                                                                      Check all that apply.
         Standard Supply & Distributing Co. Inc
                                                                          ❑ Contingent
         1431 Regal Row                                                   ❑ Unliquidated
                                                                          ❑ Disputed
         Dallas, TX 75247
                                                                          Basis for the claim: Vendor or Supplier
                                                                          Is the claim subject to offset?
         Date or dates debt was incurred      May 2023                    ✔ No
                                                                          ❑
                                                                          ❑ Yes
         Last 4 digits of account number      7   4   6     6




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 7
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Debtor        Century Air Solutions, LLC                                                                 Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $5,332.10
                                                                       Check all that apply.
         Wex Bank
                                                                       ❑ Contingent
         P.O. Box 4337                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Carol Stream, IL 60197
                                                                       Basis for the claim: Credit Card
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number   5   0   -     3
                                                                       ❑ Yes

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $188,697.12
                                                                       Check all that apply.
         Winsupply of Houston
                                                                       ❑ Contingent
                                                                       ❑ Unliquidated
         8708 W Little York Rd
                                                                       ✔ Disputed
                                                                       ❑
         Houston, TX 77040
                                                                       Basis for the claim: Vendor or Supplier
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred   May 2023                    ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Last 4 digits of account number   1   2   9     4




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5 of 7
                             Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 26 of 59

Debtor        Century Air Solutions, LLC                                                                      Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Barnett & Garcia                                                            Line 3.7

         3821 Juniper Trace Suite 108                                                ❑ Not listed. Explain
         Austin, TX 78738

 4.2     Diab Law Firm, PLLC                                                         Line 3.11

         12 Greenway Plz Ste 1100                                                    ❑ Not listed. Explain
         Houston, TX 77046

 4.3     Diab Law Firm, PLLC                                                         Line 3.12

         12 Greenway Plz Ste 1100                                                    ❑ Not listed. Explain
         Houston, TX 77046

 4.4     Dorsett Johnson & Cisneros                                                  Line 3.11

         3503 Wild Cherry Drive Building 6                                           ❑ Not listed. Explain
         Austin, TX 78738

 4.5     Jenkins & Young, P.C.                                                       Line 3.11

         P.O. Box 420                                                                ❑ Not listed. Explain
         Lubbock, TX 79408

 4.6     Law Office of Eric Gould                                                    Line 3.12

         5773 Woodway Drive                                                          ❑ Not listed. Explain
         Houston, TX 77057




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 6 of 7
                          Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 27 of 59

Debtor       Century Air Solutions, LLC                                                           Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $33,215.33




  5b. Total claims from Part 2                                                     5b.              $550,567.93
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $583,783.26
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 7 of 7
                            Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 28 of 59

 Fill in this information to identify the case:

 Debtor name                           Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                        Chapter   11                                                      ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            Builder Contract                             Ameritex Homes
2.1    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       14643 Dallas Parkway Suite 775
                                                                                          Dallas, TX 75254
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Builder Contract                             Censeo Homes
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       1800 Bering Drive Suite 950
                                                                                          Houston, TX 77057
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Builder Contract                             Enterra Homes, LLC
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       7155 Old Katy Rd Suite N-210
                                                                                          Houston, TX 77024
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            Builder Contract                             H.I.S Construction Inc
2.4    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       12342 Kitty Ln
                                                                                          Houston, TX 77015-6622
       State the term remaining              0 months

       List the contract number of
       any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 2
                          Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 29 of 59


Debtor      Century Air Solutions, LLC                                                              Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom the
                                                                                   debtor has an executory contract or unexpired lease

         State what the contract or      Builder Contract                           JD Townsend Team
2.5      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                     17447 Country Skies
                                                                                    Magnolia, TX 77355
         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or      Builder Contract                           LEVELTX Corp
2.6      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                     61 Carlton Woods Building 2, Suite 2100
                                                                                    Spring, TX 77382
         State the term remaining        0 months

         List the contract number of
         any government contract

         State what the contract or      Warehouse and Office Lease                 Boudreaux 11709 Properties, LLC
2.7      lease is for and the nature
         of the debtor’s interest        Contract to be ASSUMED                     9103 Emmott Road Suite 21
                                                                                    Houston, TX 77040
         State the term remaining        11 months

         List the contract number of
         any government contract




Official Form 206G                                  Schedule G: Executory Contracts and Unexpired Leases                                     page 2 of 2
                        Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 30 of 59
 Fill in this information to identify the case:

  Debtor name          Century Air Solutions, LLC


  United States Bankruptcy Court for the:              Southern             District of             Texas

                                                                                                                                       ❑ Check if this is an
                                                                                          (State)
  Case number (If known):
                                                                                                                                           amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                       Check all schedules
         Name                               Mailing address                                                 Name
                                                                                                                                       that apply:

                                                                                                            Nissan Motor Acceptance     ✔D
                                                                                                                                        ❑
 2.1     Bui, Phat                          20210 Galena Falls Drive                                        Corp.                       ❑ E/F
                                            Street                                                                                      ❑G
                                                                                                            Nissan Motor Acceptance     ✔D
                                                                                                                                        ❑
                                            Tomball, TX 77375                                               Corp.                       ❑ E/F
                                            City                   State                   ZIP Code                                     ❑G
                                                                                                            Capital One Spark Card      ❑D
                                                                                                                                        ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G
                                                                                                            American Express            ❑D
                                                                                                                                        ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G
                                                                                                            Wex Bank                    ❑D
                                                                                                                                        ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G
                                                                                                            Chase Ink Credit Card       ❑D
                                                                                                                                        ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G
                                                                                                            Chase Ink Credit Card       ❑D
                                                                                                                                        ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G
                                                                                                            Ferguson Enterprises LLC    ❑D
                                                                                                                                        ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G
                                                                                                            Daikin Comfort              ❑D
                                                                                                            Technologies                ✔ E/F
                                                                                                                                        ❑
                                                                                                                                        ❑G

Official Form 206H                                                     Schedule H: Codebtors                                                    page 1 of    2
                     Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 31 of 59
Debtor      Century Air Solutions, LLC                                                    Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 Standard Supply &           ❑D
                                                                                                 Distributing Co. Inc        ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Winsupply of Houston        ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
 2.2                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.3                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                                      Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 32 of 59


 Fill in this information to identify the case:

 Debtor name                                        Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                           Southern District of Texas


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                              $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $523,162.34

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $523,162.34




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                        $535,530.16



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                             $33,215.33


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +            $550,567.93




 4. Total liabilities..............................................................................................................................................................................                    $1,119,313.42

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
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 Fill in this information to identify the case:

 Debtor name                            Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                  Southern District of Texas


 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                     $363,068.06
                                                                                         ❑ Other
       fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                   From 01/01/2022          to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                   $1,858,558.38
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:         From 01/01/2021          to    12/31/2021       ✔ Operating a business
                                                                                         ❑                                                   $4,171,126.58
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:       From 01/01/2023          to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                   From 01/01/2022          to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:         From 01/01/2021          to    12/31/2021
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
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                                                                             Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                      Dates             Total amount or value         Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   American Express                                  8/9/2023                    $28,207.00          ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        PO Box 297817
        Street
                                                                                                          ❑ Suppliers or vendors
        Bankruptcy Unit
                                                                                                          ❑ Services
                                                                                                          ✔ Other Credit Card - Blue
                                                                                                          ❑
        Fort Lauderdale, FL 33329-7817
        City                          State   ZIP Code

 3.2.   Carrier Enterprises LLC                           8/9/2023                   $311,673.91          ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        PO Box 730307                                                                                     ✔ Suppliers or vendors
                                                                                                          ❑
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Dallas, TX 75373
        City                          State   ZIP Code

 3.3.   Capital One                                       8/9/2023                    $12,500.00          ❑ Secured debt
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        PO Box 60519
        Street
                                                                                                          ❑ Suppliers or vendors
                                                                                                          ❑ Services
                                                                                                          ✔ Other Credit Card
                                                                                                          ❑
        City of Industry, CA 91716
        City                          State   ZIP Code

 3.4.   Nissan Motor Acceptance Corp.                     8/9/2023                     $4,464.99          ✔ Secured debt
                                                                                                          ❑
        Creditor's name
                                                                                                          ❑ Unsecured loan repayments
        PO Box 660366
        Street
                                                                                                          ❑ Suppliers or vendors
        Bankruptcy Dept.
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Dallas, TX 75266-9620
        City                          State   ZIP Code

 3.5.   US Bank                                           8/9/2023                    $15,958.39          ❑ Secured debt
        Creditor's name                                                                                   ✔ Unsecured loan repayments
                                                                                                          ❑
        PO Box 5229
        Street
                                                                                                          ❑ Suppliers or vendors
        Bankruptcy Dept
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Cincinnati, OH 45201-5229
        City                          State   ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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                                                                           Case number (if known)
               Name


 3.6.   Winsupply of Houston                            8/9/2023                    $24,858.07          ❑ Secured debt
        Creditor's name
                                                                                                        ❑ Unsecured loan repayments
        8708 W Little York Rd                                                                           ✔ Suppliers or vendors
                                                                                                        ❑
        Street
                                                                                                        ❑ Services
                                                                                                        ❑ Other
        Houston, TX 77040
        City                        State   ZIP Code

 3.7.   Ally Automotive Financing                       8/9/2023                    $16,982.04          ✔ Secured debt
                                                                                                        ❑
        Creditor's name
                                                                                                        ❑ Unsecured loan repayments
        P. O. Box 130424
        Street
                                                                                                        ❑ Suppliers or vendors
        Attn Bankruptcy Dept
                                                                                                        ❑ Services
                                                                                                        ❑ Other
        Saint Paul, MN 55113-0004
        City                        State   ZIP Code

 3.8.   Community Bank of Texas                         February 2023                $2,783.25          ❑ Secured debt
        Creditor's name                                                                                 ✔ Unsecured loan repayments
                                                                                                        ❑
        5999 Delaware St
        Street
                                                                                                        ❑ Suppliers or vendors
                                                                                                        ❑ Services
                                                                                                        ❑ Other
        Beaumont, TX 77706-7607
        City                        State   ZIP Code

 3.9.   Geothermal Geo Loop Pro                         March 2023                   $6,835.00          ❑ Secured debt
        Creditor's name
                                                                                                        ❑ Unsecured loan repayments
        619 Avenue M                                                                                    ✔ Suppliers or vendors
                                                                                                        ❑
        Street
                                                                                                        ❑ Services
                                                                                                        ❑ Other
        Huntsville, TX 77320
        City                        State   ZIP Code

 3.10. American Express                                 8/9/2023                    $32,923.42          ❑ Secured debt
       Creditor's name
                                                                                                        ❑ Unsecured loan repayments
        PO Box 297817
        Street
                                                                                                        ❑ Suppliers or vendors
        Bankruptcy Unit
                                                                                                        ❑ Services
                                                                                                        ✔ Other Credit Card - Gold
                                                                                                        ❑
        Fort Lauderdale, FL 33329-7817
        City                        State   ZIP Code

 3.11. Standard Supply and Distributing Company         8/9/2023                     $5,077.70          ❑ Secured debt
        Inc.                                                                                            ❑ Unsecured loan repayments
                                                                                                        ❑ Suppliers or vendors
        Creditor's name

                                                                                                        ✔ Services
        1431 Regal Row
        Street                                                                                          ❑
                                                                                                        ❑ Other
        Dallas, TX 75247
        City                        State   ZIP Code

 3.12. WaterFurnace International Inc.                  8/9/2023                    $10,275.05          ❑ Secured debt
       Creditor's name
                                                                                                        ❑ Unsecured loan repayments
        9000 Conservation Way
                                                                                                        ❑ Suppliers or vendors
                                                                                                        ✔ Services
        Street
                                                                                                        ❑
                                                                                                        ❑ Other
        Fort Wayne, IN 46809
        City                        State   ZIP Code




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                page 3
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                                                                             Case number (if known)
                 Name



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                         Dates              Total amount or value           Reasons for payment or transfer


 4.1.   Bui, Phat                                           8/10/2023                    $17,929.09            Owner Draws
        Creditor's name
        20210 Galena Falls Drive
        Street



        Tomball, TX 77375
        City                          State   ZIP Code

         Relationship to debtor

        Owner

 4.2.   Anthony Bui                                         8/14/2023                     $9,053.03            W-2 Employee
        Creditor's name
        20210 Galena Falls Drive
        Street



        Tomball, TX 77375
        City                          State   ZIP Code

         Relationship to debtor

        Son of Owners

 4.3.   Jackie Bui                                          8/14/2023                    $25,021.88            Insider Payments - Salary
        Creditor's name
        20210 Galena Falls Drive
        Street



        Tomball, TX 77375
        City                          State   ZIP Code

         Relationship to debtor

        Spouse of Owner



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                               Date                    Value of property




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 4
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                                                                             Case number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                          State   ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                          State   ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Standard Supply & Distributing          Breach of contract                      Harris County Civil Court at Law No.1                 ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        Co. Inc vs Century Air                                                          Name
        Solutions LLC,Phat Bui                                                          201 Caroline 5th Floor
                                                                                        Street                                                ❑ Concluded
         Case number                                                                    Harris County Civil Courthouse
                                                                                        Houston, TX 77002
        1197685                                                                         City                         State     ZIP Code

 7.2.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        Robert Madden Industries,               Breach of contract                      Lubbock County - 72nd District Court                  ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        LTD. vs. Century Air Solutions,                                                 Name
        LLC,Phat Bui                                                                    904 Broadway Suite 320
                                                                                        Street                                                ❑ Concluded
         Case number                                                                    Lubbock County Courthouse
                                                                                        Lubbock, TX 79401
        DC-2022-CV-0748                                                                 City                         State     ZIP Code

 7.3.    Case title                              Nature of case                          Court or agency's name and address                    Status of case

        FERGUSON ENTERPRISES                    Breach of contract                      333rd District Court, Harris County                   ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        LLC v CENTURY AIR                                                               Name
        SOLUTIONS LLC                                                                   201 Caroline St 14 Floor
                                                                                        Street                                                ❑ Concluded
         Case number
                                                                                        Houston, TX 77002
        202323568                                                                       City                         State     ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 5
Debtor
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                  Century Air Solutions, LLC
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                                                                              Case number (if known)
                  Name



 8.      Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
         receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ✔ None
         ❑
 8.1.     Custodian’s name and address                     Description of the property                         Value


         Custodian’s name
                                                           Case title                                          Court name and address
         Street
                                                                                                              Name

                                                           Case number                                        Street
         City                          State   ZIP Code



                                                           Date of order or assignment                        City                          State   ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
         to that recipient is less than $1,000
         ✔ None
         ❑
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                  Dates given          Value


         Recipient’s name


         Street




         City                          State   ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the        Amount of payments received for the loss                      Date of loss      Value of property
           loss occurred                                       If you have received payments to cover the loss, for                            lost
                                                               example, from insurance, government compensation,
                                                               or tort liability, list the total received.
                                                               List unpaid claims on Official Form 106A/B (Schedule
                                                               A/B: Assets – Real and Personal Property).


 10.1.




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 6
Debtor
                               Case 23-33123 Document 1 Filed in TXSB on 08/17/23
                  Century Air Solutions, LLC
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                                                                              Case number (if known)
                  Name
 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         The Lane Law Firm                                      Attorney’s Fee                                            01/19/2023                   $10,000.00


          Address                                               Attorney’s Fee                                            04/25/2023                   $15,000.00

         6200 Savoy Dr Ste 1150                                 Attorney's Fee                                            08/02/2023                     $5,000.00
         Street


         Houston, TX 77036-3369
         City                          State   ZIP Code


          Email or website address

         billing@lanelaw.com

          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                             Describe any property transferred                         Dates transfers       Total amount or
                                                                                                                         were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 7
Debtor
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                Century Air Solutions, LLC
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                                                                            Case number (if known)
                Name

 13.1.    Who received the transfer?                          Description of property transferred or payments           Date transfer    Total amount or
                                                              received or debts paid in exchange                        was made         value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ❑ Does not apply
          Address                                                                                           Dates of occupancy

 14.1. 17610 Hufsmith - Kohrville Rd                                                                                                   January 31,
       Street                                                                                              From    May 2018         To 2022


         Tomball, TX 77375
         City                        State       ZIP Code



 14.1. 11709 Boudreaux Road Suite 720                                                                      From    01/01/2022       To 07/01/2023
       Street



         Tomball, TX 77375
         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.




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Debtor
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                                                                              Case number (if known)
                  Name

          Facility name and address                        Nature of the business operation, including type of services the        If debtor provides meals
                                                           debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                           Location where patient records are maintained(if different from         How are records kept?
                                                           facility address). If electronic, identify any service provider.
         City                      State       ZIP Code                                                                           Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                    ❑ No
                    ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                  Employer identification number of the plan

                                                                                                      EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None
          Financial institution name and address             Last 4 digits of account     Type of account             Date account was         Last balance
                                                             number                                                   closed, sold, moved,     before closing
                                                                                                                      or transferred           or transfer

 18.1 Community Bank/Stellar Bank                            XXXX– 5 5 6 8               ✔ Checking
                                                                                         ❑                                                    $0.00
                                                                                         ❑ Savings
      Name


         Street                                                                          ❑ Money market
                                                                                         ❑ Brokerage
                                                                                         ❑ Other
         City                        State     ZIP Code



Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 9
Debtor
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                                                                              Case number (if known)
                  Name
 19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         ✔ None
         ❑
 19.1     Depository institution name and address           Names of anyone with access to it           Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                            Address

         City                        State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                         Names of anyone with access to it           Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                            Address

         City                        State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                 Location of the property                    Description of the property                 Value


         Name


         Street




         City                          State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.




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Debtor
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                                                                           Case number (if known)
               Name
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                  Court or agency name and address                   Nature of the case                        Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                    Name
                                                                                                                                                 ❑ On appeal
                                                    Street
                                                                                                                                                 ❑ Concluded


                                                    City                       State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                       Governmental unit name and address                 Environmental law, if known               Date of notice


      Name                                          Name


      Street                                        Street




      City                    State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                       Governmental unit name and address                 Environmental law, if known               Date of notice


      Name                                          Name


      Street                                        Street




      City                    State   ZIP Code      City                       State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




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Debtor
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                                                                              Case number (if known)
                  Name

           Business name and address                    Describe the nature of the business                       Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.
 25.1.
                                                                                                                 EIN:          –
          Name
                                                                                                                  Dates business existed
          Street
                                                                                                                 From                 To



          City                   State   ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ❑None
            Name and address                                                                                       Dates of service

 26a.1. Ideal Bookkeeping & Payroll Solutions                                                                          February
           Name                                                                                                   From 2021            To April 2022
           25014 Bovington Drive
           Street



           Spring, TX 77389
           City                                             State                  ZIP Code

            Name and address                                                                                       Dates of service

 26a.2. Megan Peek                                                                                                From April 2022      To 08/07/2022
           Name
           11709 Boudreaux Road Suite 720
           Street



           Tomball, TX 77375
           City                                             State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ❑None
            Name and address                                                                                       Dates of service

 26b.1. Innovation Refunds                                                                                             October
           Name                                                                                                   From 2022            To Present
           4350 Westown Pkwy Regency West 8 Ste 300
           Street



           West Des Moines, IA 50266
           City                                             State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None
            Name and address                                                                                       If any books of account and records are
                                                                                                                   unavailable, explain why
 26c.1.
           Jackie Lu
           Name
           11709 Boudreaux Road Suite 720
           Street



           Tomball, TX 77375
           City                                             State                  ZIP Code


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
Debtor
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                                                                              Case number (if known)
                  Name

            Name and address                                                                                   If any books of account and records are
                                                                                                               unavailable, explain why
 26c.2.
           Haley Nguyen - Nguyen CPA Firm
           Name
           16310 Tomball Pkwy #403
           Street



           Houston, TX 77064
           City                                             State                  ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ❑None
            Name and address

 26d.1. Community Bank of Texas/Stellar Bank
           Name
           5999 Delaware St
           Street



           Beaumont, TX 77706-7607
           City                                             State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ❑ No
         ✔ Yes. Give the details about the two most recent inventories.
         ❑
           Name of the person who supervised the taking of the inventory                          Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

          Vernon Beck                                                                            09/21/2022                                          $221,458.53


           Name and address of the person who has possession of inventory records

 27.1.
          Name
          11709 Boudreaux Road Suite 720
          Street



          Tomball, TX 77375
          City                                      State               ZIP Code

           Name of the person who supervised the taking of the inventory                          Date of        The dollar amount and basis (cost, market, or
                                                                                                  inventory      other basis) of each inventory

          Vernon Beck                                                                            02/22/2023                                          $160,713.03


           Name and address of the person who has possession of inventory records

 27.2.
          Name
          11709 Boudreaux Road Suite 720
          Street



          Tomball, TX 77375
          City                                      State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.



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Debtor
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             Century Air Solutions, LLC
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                                                                         Case number (if known)
             Name

         Name                             Address                                                       Position and nature of any            % of interest, if any
                                                                                                        interest

      Bui, Phat                       20210 Galena Falls Drive Tomball, TX 77375                       Manager,                                          100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
      ✔ No
      ❑
      ❑ Yes. Identify below.
         Name                             Address                                                    Position and nature of any       Period during which
                                                                                                     interest                         position or interest was
                                                                                                                                      held

                                                                                                 ,                                     From
                                                                                                                                       To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                      Amount of money or description              Dates                 Reason for providing
                                                                            and value of property                                             the value


 30.1. Bui, Phat                                                                                         $17,929.09    8/10/2023           Owner Draws
      Name
      20210 Galena Falls Drive
      Street



      Tomball, TX 77375
      City                                     State        ZIP Code


         Relationship to debtor

      Owner
         Name and address of recipient                                      Amount of money or description              Dates                 Reason for providing
                                                                            and value of property                                             the value


 30.2. Anthony Bui                                                                  $9,053.03 through 8/14/2023        8/14/2023           Salary
      Name
      20210 Galena Falls Drive
      Street



      Tomball, TX 77375
      City                                     State        ZIP Code


         Relationship to debtor

      Son of Owners




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 14
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                                                                            Case number (if known)
             Name

         Name and address of recipient                                            Amount of money or description          Dates             Reason for providing
                                                                                  and value of property                                     the value


 30.3. Jackie Bui                                                                        $25,021.88 through 8/14/2023    8/14/2023         Insider payments
      Name
      20210 Galena Falls Drive
      Street



      Tomball, TX 77375
      City                                           State         ZIP Code


         Relationship to debtor

      Spouse of Owner

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                          Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                                Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          08/17/2023
                     MM/ DD/ YYYY




    ✘ /s/ Phat Bui                                                        Printed name                        Phat Bui
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor               Manager




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 15
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 Fill in this information to identify the case:

 Debtor name                           Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     American Express                                                        Credit Card                                                                          $11,254.11
      Bankruptcy Unit
      PO Box 297817
      Fort Lauderdale, FL 33329-7817

2     Capital One Spark Card                                                  Credit Card                                                                          $11,156.27
      P.O. Box 60519
      City of Industry, CA 91716


3     Carrier Enterprises LLC                                                 Vendor or Supplier      Disputed                                                     $29,729.44
      PO Box 730307
      Dallas, TX 75373


4     Chase Ink Credit Card                                                   Credit Card                                                                          $35,504.95
      P.O. Box 6294
      Carol Stream, IL 60197


5     Chase Ink Credit Card                                                   Credit Card                                                                          $34,046.76
      PO Box 6294
      Carol Stream, IL 60197


6     Community Bank of Texas                                                 Business Loan                                                                       $431,926.82
      5999 Delaware St
      Beaumont, TX 77706-7607


7     Community Bank of Texas                                                 SBA Loan                                                                             $25,923.38
      5999 Delaware St
      Beaumont, TX 77706-7607


8     Community Bank of Texas                                                 2021 Chevy G350                               $40,911.94        $23,450.00           $17,461.94
      5999 Delaware St                                                        Van
      Beaumont, TX 77706-7607



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
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Debtor       Century Air Solutions, LLC                                                                       Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Daikin Comfort Technologies                                         Vendor or Supplier      Disputed                                                 $23,897.67
      PO Box 660503
      Dallas, TX 75266


10 Ferguson Enterprises LLC                                               Vendor or Supplier                                                               $14,646.26
   PO Box 847411
   Dallas, TX 75284


11 iHeartMedia Inc.                                                       Advertising             Disputed                                                 $19,391.87
   20880 Stone Oak Parkway
   San Antonio, TX 78258


12 Internal Revenue Service                                               Payroll Taxes                                                                    $33,215.33
   P.O. Box 7346
   Philadelphia, PA 19101-7346


13 Jackson Supply Co.                                                     Vendor or Supplier      Disputed                                                 $58,746.76
   6655 Roxburgh Dr. Suite #100
   Houston, TX 77041


14 Lennox International, Inc.                                             Vendor or Supplier                                                                  $728.17
   2100 Lake Park Blvd.
   Richardson, TX 75080


15 Robert Madden Industries, LTD                                          Vendor or Supplier      Disputed                                                 $91,484.07
   6021 43rd Street
   Lubbock, TX 79407


16 Standard Supply & Distributing Co.                                     Vendor or Supplier                                                               $25,952.38
   Inc
      1431 Regal Row
      Dallas, TX 75247

17 Wex Bank                                                               Credit Card                                                                       $5,332.10
   P.O. Box 4337
   Carol Stream, IL 60197


18 Winsupply of Houston                                                   Vendor or Supplier      Disputed                                               $188,697.12
   8708 W Little York Rd
   Houston, TX 77040


19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Southern District of Texas

In re        Century Air Solutions, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $47,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $25,000.00

        Balance Due ................................................................................................................................................    $22,500.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        08/17/2023                                              /s/ Robert C Lane
                Date                                         Robert C Lane
                                                             Signature of Attorney
                                                                                            Bar Number: 24046263
                                                                                                The Lane Law Firm
                                                                                           6200 Savoy Dr Ste 1150
                                                                                           Houston, TX 77036-3369
                                                                                            Phone: (713) 595-8200
                                                                                               Fax: (713) 595-8201

                                                                               The Lane Law Firm
                                                            Name of law firm




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: Century Air Solutions, LLC                                                     CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      08/17/2023            Signature                                    /s/ Phat Bui
                                                                            Phat Bui, Manager
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AMERICAN EXPRESS
BANKRUPTCY UNIT
PO BOX 297817
FORT LAUDERDALE, FL 33329-7817



AMERITEX HOMES
14643 DALLAS PARKWAY SUITE 775
DALLAS, TX 75254




BARNETT & GARCIA
3821 JUNIPER TRACE SUITE 108
AUSTIN, TX 78738




BOUDREAUX 11709
PROPERTIES, LLC
9103 EMMOTT ROAD SUITE 21
HOUSTON, TX 77040



PHAT BUI
20210 GALENA FALLS DRIVE
TOMBALL, TX 77375




CAPITAL ONE SPARK CARD
P.O. BOX 60519
CITY OF INDUSTRY, CA 91716




CARRIER ENTERPRISES LLC
PO BOX 730307
DALLAS, TX 75373




CENSEO HOMES
1800 BERING DRIVE SUITE 950
HOUSTON, TX 77057
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CENTURY AIR SOLUTIONS,
LLC
11709 BOUDREAUX ROAD STE. 630
TOMBALL, TX 77375



CHASE INK CREDIT CARD
P.O. BOX 6294
CAROL STREAM, IL 60197




CHASE INK CREDIT CARD
PO BOX 6294
CAROL STREAM, IL 60197




COMMUNITY BANK OF TEXAS
5999 DELAWARE ST
BEAUMONT, TX 77706-7607




DAIKIN COMFORT
TECHNOLOGIES
PO BOX 660503
DALLAS, TX 75266



DIAB LAW FIRM, PLLC
12 GREENWAY PLZ STE 1100
HOUSTON, TX 77046




DORSETT JOHNSON &
CISNEROS
3503 WILD CHERRY DRIVE BUILDING 6
AUSTIN, TX 78738



ENTERRA HOMES, LLC
7155 OLD KATY RD SUITE N-210
HOUSTON, TX 77024
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FERGUSON ENTERPRISES LLC
PO BOX 847411
DALLAS, TX 75284




H.I.S CONSTRUCTION INC
12342 KITTY LN
HOUSTON, TX 77015-6622




IHEARTMEDIA INC.
20880 STONE OAK PARKWAY
SAN ANTONIO, TX 78258




INTERNAL REVENUE SERVICE
P.O. BOX 7346
PHILADELPHIA, PA 19101-7346




JACKSON SUPPLY CO.
6655 ROXBURGH DR. SUITE #100
HOUSTON, TX 77041




JD TOWNSEND TEAM
17447 COUNTRY SKIES
MAGNOLIA, TX 77355




JENKINS & YOUNG, P.C.
P.O. BOX 420
LUBBOCK, TX 79408




LAW OFFICE OF ERIC GOULD
5773 WOODWAY DRIVE
HOUSTON, TX 77057
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LENNOX INTERNATIONAL,
INC.
2100 LAKE PARK BLVD.
RICHARDSON, TX 75080



LEVELTX CORP
61 CARLTON WOODS BUILDING 2, SUITE
2100
SPRING, TX 77382



NISSAN MOTOR ACCEPTANCE
CORP.
BANKRUPTCY DEPT.
PO BOX 660366
DALLAS, TX 75266-9620


ROBERT MADDEN
INDUSTRIES, LTD
6021 43RD STREET
LUBBOCK, TX 79407



STANDARD SUPPLY &
DISTRIBUTING CO. INC
1431 REGAL ROW
DALLAS, TX 75247



THE LANE LAW FIRM
6200 SAVOY DR STE 1150
HOUSTON, TX 77036-3369




WEX BANK
P.O. BOX 4337
CAROL STREAM, IL 60197




WINSUPPLY OF HOUSTON
8708 W LITTLE YORK RD
HOUSTON, TX 77040
                           Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 57 of 59
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                    .

                 a. Total assets                                                                                                 $523,162.34
                 b. Total debts (including debts listed in 2.c., below)                                                        $1,119,313.42
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 HVAC: Heating, Air Condition Installation, Repair and Maintenance
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                            Case 23-33123 Document 1 Filed in TXSB on 08/17/23 Page 58 of 59


 Fill in this information to identify the case:

 Debtor name                           Century Air Solutions, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     08/17/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Phat Bui
                                                                                Signature of individual signing on behalf of debtor


                                                                                Phat Bui
                                                                                Printed name


                                                                                Manager
                                                                                Position or relationship to debtor



Official Form B202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION
      IN RE: Century Air Solutions, LLC                                CASE NO

                                                                       CHAPTER 11



                         DECLARATION FOR ELECTRONIC FILING OF BANKRUPTCY
                               PETITION, LISTS, STATEMENTS, AND SCHEDULES


PART I: DECLARATION OF PETITIONER:
As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation, partnership, or
limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of, the debtor in
accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically in this
case. I have read the information provided in the petition, lists, statements, and schedules to be filed electronically in
this case and I HEREBY DECLARE UNDER PENALTY OF PERJURY that the information provided therein, as well as
the social security information disclosed in this document, is true and correct. I understand that this Declaration is to
be filed with the Bankruptcy Court within five (5) business days after the petition, lists, statements, and schedules have
been filed electronically. I understand that a failure to file the signed original of this Declaration will result in the
dismissal of my case.

❑       [Only include for Chapter 7 individual petitioners whose debts are primarily consumer debts] --
        I am an individual whose debts are primarily consumer debts and who has chosen to file under chapter 7. I
        am aware that I may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, understand the
        relief available under each chapter, and choose to proceed under chapter 7.
✔
❑       [Only include if petitioner is a corporation, partnership or limited liability company] --
        I hereby further declare under penalty of perjury that I have been authorized to file the petition, lists,
        statements, and schedules on behalf of the debtor in this case.

Date                                     /s/ Phat Bui
08/17/2023
                          Phat Bui
                          Manager
                          EIN No. 3 8 9 8




PART II: DECLARATION OF ATTORNEY:
I declare UNDER PENALTY OF PERJURY that: (1) I will give the debtor(s) a copy of all documents referenced by Part
I herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States
Code, and have explained the relief available under each such chapter.

Date                                /s/ Robert C Lane
08/17/2023                Robert C Lane
                          Attorney
